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                         IN THE UNITED STATES BANKRUPTCY COURT
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                                                            Chapter 11
In re:
                                                            Case No. 17-10570(BLS)
 Bostwick Laboratories, Inc., et al.,l
                                                            Jointly Administered
                  Post-Effective Date Debtors.
                                                            Response Deadline: September 28, 2018 at 4:00 p.m.
                                                            Hearing Date: October 25, 2018 at 11:00 a.m.

                  MOTION OF PLAN ADMINISTRATOR FOR ENTRY OF AN
                 ORDER EXTENDING THE CLAIMS OBJECTION DEADLINE

         James P. Carroll, solely in his capacity as the plan administrator ("Plan Administrator")

for the above-captioned, post-effective date debtors ("Debtors"), hereby files this motion (the

"Motion") seeking entry of an order extending by 180 days, or such longer period as may be

established by the Court, the time that the Plan Administrator may object to claims in this

chapter 11 case, without prejudice to the rights of the Plan Administrator to seek further

extensions of such deadline. In support of this Motion, the Plan Administrator respectfully

represents as follows:

                                       JURISDICTION AND VENUE

          1.      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334, and Article XVII of the Plan (defined below). This is a core proceeding pursuant to 28

U.S.C. § 157(b). Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         2.       The predicates for the relief requested herein are section 105 of chapter 11 of title

 11 of the United States Code (the "Bankruptcy Code"), Rule 9006 of the Federal Rules of



'The Yost-Effective Date Debtors are the following entities (last four digits of EIN in parentheses):(i) Bostwick
Laboratories, Inc., a Delaware corporation (3169); and (ii) Bostwick Laboratories Holdings, Inc., a Delaware
corporation (1042). The current mailing address for the Post-Effective Date Debtors is Janles P. Carroll as the Plan
Administrator, c/o Carroll Services LLC,4450 Bonita Beach Road, Suite 9, Bonita Springs, FL 34134.



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Bankruptcy Procedure (the `Bankruptcy"), Rule 9006-2 of the Local Rules of Bankruptcy

Practice and ~'rocedure of the United States Bankruptcy Court for the District of Delaware (the

"Local Rules"), and Article XI.E of the Plan.

        3.        Pursuant to Local Rule 9013-1(~, the Plan Administrator consents to the entry of

a final judgment or order with respect to the Motion if it is determined that the Court, absent

consent of the parties, cannot enter final orders or judgments consistent with Article III ofthe

United States Constitution.

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        4.        On March 15, 2017 (the "Petition Date"), the Debtors each filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code (the "Chapter 11 Cases"). The factual

background regarding the Debtors, including their business operations, their capital and debt

structures, and the events leading to the filing ofthe Chapter 11 Cases, is set forth in detail in the

Declaration ofTammy Hunt in Support ofChapter 11 Petitions and First Day Pleadings,2 fully

incorporated herein by reference.

         5.       On March 23, 2017, the United States Trustee for the District of Delaware appointed

an Official Committee of Unsecured Creditors.3 No trustee or examiner was requested or appointed

in the Chapter 11 Cases.

        6.        On July 11, 2017 the Debtors initiated a process to confirm a chapter 11 plan (as

amended,the "Plan").4 The Court entered an order on (i) August 1, 2017 approving the Debtors'

combined disclosure statement and Plan for solicitation purposes,s and (ii) September 15, 2017



2 Dkt. No. 3
3 Dkt. No. 84.
4 Dkt. Nos. 383, 384,449 and. 547-1.
5 Dkt. No. 446.

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confirming the Plan.6 The effective date of the Plan occurred on October 2, 2017(the "Plan Effective

Date").~

         7.          The Plan Administrator was appointed under Article X ofthe Plan to, among

other things, reconcile and object to proofs of claim as necessary, complete the liquidation and

distribution of the Debtors' assets to creditors holding allowed claims against the Debtors, and

otherwise wind up the affairs of each of the Debtors.g

         8.          The Plan provides that the Plan Administrator has the authority to object to and

reconcile claims subject to a "Claims Objection Deadline" defined as the first business day that

is 180 days after the Plan Effective Date.9 The Plan further provides that the Claims Objection
                                                                                     lo
Deadline may be extended by the Court on notice and motion by the Plan Administrator.

         9.          On March 16, 2018, the Plan Administrator filed his Motion ofPlan AdrninistratoNfor

EntNy ofan ONder Extending the Claims Objections Deadline seeking entry of an order extending the

Claims Objection Deadline under the Plan by 180 days from March 29, 2018 through and including

September 25, 2018, or such longer period as may be established by the Court(the "First Extension

Motion").

         10.         On April 5, 2018, the Court granted the First Extension Motion resulting in a new
                                                                              I1
Claims Objection Deadline of September 25, 2018 (the "First Extension Order"),




~ Dkt. No. 547.
 Dkt. No. 560.
g Plan, at Art. X.
~ Plan, at Articles XI.E and L26.
io
   Id.
i ~ Dkt. No. 646.

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         11.       On May 10, 2018, the Court granted the Plan Admznzstrato~'s Fist Omnibus(Non-

Substantive) Objection to Certain (A)Duplicate and(B)Amended and Superseded Claims(the "First

Omnibus Objection Order").12

         12.       On May 29, 2018, the Court granted the Plan AdministNatoN's Second Omnibus

(Substantive) Objection to Ce~tczin (A) Misclasszfied Claim,(B) No Liability Claims,(C)

Superseded Claims and(D)Reduce and Allow Claims(the "Second Omnibus Objection

Order"),13

         13. On September 11, 2018, the Plan Administrator filed the Plan Adininist~ator's Third

Omnibus(Non-Substantive) Objection to Certain (A)Amended and Superseded Claims and(B)No

Liability Claims (the "Third Omnibus Objection") and the Plan AdminzstNatoN's Fourth Omnibus

(Substantive) Objection to Certain Reduce and Allow Claims crud No Liability Claims (the "Fourth

Omnibus Objection").14

                                       RELIEF REQUESTED

         14.       By this Motion, the Plan Administrator seeks an order extending the Claims

Objection Deadline by an additional 180 days from September 25, 2018 through and including

March 24, 2019, or such longer period as may be established by the Court, without prejudice to

the rights ofthe Plan Administrator to seek further extensions of such Claims Objection

Deadline.




1z Dkt. No. 654.
13 Dkt. No. 661,
14 Dkt. Nos. 674 & 675.

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                                        BASIS FOR RELIEF

           15.     The Plan authorizes the Plan Administrator, in his discretion, to move to extend

the Claims Objection Deadline.ls In addition, Bankruptcy Rule 9006(b)(1) provides that the

Court can extend unexpired time periods, as follows:

                 [W]hen an act is required or allowed to be done at or within a specified
                 period ... by order of court, the court for cause shown may at any time in
                 its discretion (1) with or without motion or notice order the period
                 enlarged if the request therefore is made before expiration of the period
                 prescribed or as extended by a previous order ....

Fed. R. Bankr. P. 9006(b)(1).

           16.    The Plan Administrator's request to further extend the Claims Objection Deadline

is being made before the expiration of the current Claims Objection Deadline and, the Plan

Administrator respectfully asserts that cause exists to extend such deadline.

           17.    Although "cause" is not defined in Bankruptcy Rule 9006(b)(1), it has been noted

that "courts should be liberal in granting extensions of time sought before the period to act has

elapsed, as long as the moving party has not been guilty of negligence or bad faith and the

privilege of extensions has not been abused ...." 10 Cot,LlEx oN BANKx. P. 9006.06(16th Ed.

2017). As discussed below, good and sufficient cause exists to extend the Claims Objection

Deadline.

           18.    Since the entry of the First Extension Order, the Plan Administrator and his

counsel have been working diligently to maximize the value of the Debtors' estates and resulting

distributions to the estates' actual creditors by, among other things, reviewing and reconciling

the claims register with the Debtors' books and records, drafting and filing claims objections,




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     Id.

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settling claims, and analyzing and pursuing, where appropriate, estates' various potential

preference claims and other avoidance actions. Following is a summary of those efforts to date:

                   On May 10, 2018, the Court entered the First Omnibus Objection Order, which
                   resulted in the disallowance and/or expungement, as applicable, of certain
                   claims.lb

                   As ofthe Plan Effective Date, a combination of alleged administrative and
                   general unsecured claims by the United States of America ("U.S.") in the
                   aggregate amount of $64,865,412.20 remained unresolved. On May 17, 2018,the
                   Court approved that certain Stipulation By and Between the Plan Admznistrator
                   and United States ofAme~ica (the "U.S. Government Stipulation").17 The terms
                   and conditions of the U.S. Government Stipulation resolved the pending and
                   alleged claims held or believed to be held by the U.S. against the Debtors in the
                   Chapter 11 Cases. Specifically, the U.S. Government Stipulation provides that
                   U.S. shall have an allowed General Administrative Expense Claim (as defined in
                   the Plan) against the estates in the amount of $60,165.36, with all other U.S.
                   claims against the Debtors deemed to have been withdrawn and not otherwise
                   entitled to any distributions under the Plan. In addition, the U.S. agreed that it
                   will not file any new or amended proofs of claim against the Debtors on behalf of
                   the Centers for Medicare and Medicaid Services("CMS")and certain other
                   agencies in connection with a prepetition settlement involving certain qui tam
                   cases and an administrative overpayment proceeding with CMS.

                   On May 29, 2018, the Court entered the Second Omnibus Objection Order, which
                   resulted in the reclassification, reduction, disallowance and/or expungement, as
                   applicable, of certain claims.lg

                   Pursuant to his authority under the Plan, the Plan Administrator entered into a
                   confidential settlement agreement with claimants to reduce and allow a certain
                   general unsecured non-priority claim and disallow other claims filed by such
                   claimants in their entirety. Under the terms and conditions ofthe settlement
                   agreement, certain claims filed in an aggregate amount of $48,313,729.30 were
                   consensually resolved resulting in an allowed general unsecured claim against the
                   estates in the amount of $10,500,000.00.

                   Similarly, the Plan Administrator entered into a settlement agreement with certain
                   claimants where each of the claimants waived all rights, if any, to distributions or
                   other recovery from the Debtors and their estates under the Plan or in the Chapter
                   11 Cases in exchange for obtaining coverage from certain insurance policies with


~~ Dkt. No. 654.
~~ Dkt. No. 658; see Dkt. No. 657.
18 Dkt. No. 66l.



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                  respect to any actual or potential claims that may be asserted against such
                  claimants.

                 On July 20, 2018, the Court approved that certain Stipulation By and Between the
                 Plan Administ~ato~, 100 Kings Point Road Associates Inc, and CLB 100, LIC
                 with Respect to PNoofofClaim No. 69(the "Winbrook Stipulation"). 19 100 Kings
                 Paint Road Associates Inc. and CLB 100, LLC (collectively,"Winbrook
                 Mana e~")served as the Debtors' former landlord of commercial office space
                 located in Uniondale, New York. On June 22, 2017, Winbrook Management filed
                 a proof of claim that was recorded on the Debtors' claim register as proof of claim
                 number 69 for outstanding rent in the amount of$65,736.35 (the"Winbrook
                 Claim"). As part of the ongoing claims reconciliation process, the Plan
                 Administrator confirmed with Winbrook Management that the Winbrook Claim
                 was satisfied pursuant to a third-party guarantee and that no outstanding claim
                 remained against the Debtors' estates. As a result, pursuant to the Winbrook
                 Stipulation, the Winbrook Claim was disallowed in its entirety.

                 Since the entry ofthe First Extension Order, the Plan Administrator has reviewed
                 and analyzed the estates' potential claims against various parties who may have
                 received transfers subject to avoidance under section 547 ofthe Bankruptcy Code.
                 As of the date of this Motion, the Plan Administer has sent demand letters to
                 twelve transferees and has obtained a settlement from one of the transferees.

                 On September 11, 2018, the Plan Administrator filed the Third Omnibus
                 Objection and the Fourth Omnibus Objection, each seeking to reduce, disallow
                 and/or expunge, as applicable, certain claims.

         19.     The Plan Administrator has made significant progress in reconciling over $48

million in proofs of claim filed against the Debtors' estates. However, as outlined above, the

Plan Administrator's primary task of maximizing value for the estates' creditors is not yet

co~iplete. The Plan Administrator believes the progress to date, and the actively continuing and

further work undertaken or to be undertaken on behalf ofthe estates, warrants a further extension

of the Claims Objection Deadline. The claims reconciliation process, due diligence surrounding

potential preference and other avoidance actions, and the identification of other meaningful

estate assets, are all well underway. The Plan Administrator believes that curtailing this process




'~ Dkt. No. 669; see Dkt. No. 668.

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through the premature filing of claim objections, or stopping short all together, only serves to

diminish recoveries flowing to creditors holding allowed claims.

         20.     Finally, the requested extension of not less than 180 days (a) is reasonable,

especially given that this Motion represents only the second such request by the Plan

Administrator,(b)is consistent with extensions granted in other chapter 11 cases in this

jurisdiction, and (c) will reduce the estates' administrative burn by permitting the Plan

Administrator to pursue consensual resolutions of disputed claims and, when appropriate, file

those objections and other actions that serve to maximize all possible value for the Debtors'

estates and creditors.

                                              NOTICE

        21.      Notice ofthis Motion has been provided pursuant to the post-confirmation service

list, as follows:(i) the Office of the United States J. Caleb Boggs Federal Building, 844 King

Street, Suite 2207, Lockbox 35, Wilmington, DE 19801, Attn: Jane M. Leamy

(jane.m.leamy@usdoj.gov);(ii) Plan Administrator, c/o Carroll Services LLC,4450 Bonita

Beach Road, Suite 9, Bonita Springs, FL 34134, Attn: James P. Carroll; and (iii) Pennsylvania-

Department of Revenue, Office ofthe Attorney General, 21 S. 12tt
                                                             'Street, 3rd Floor,

Philadelphia, PA 19107, Attn: Christopher R. Momjian.




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        WHEREFORE,the Plan Administrator respectfully requests that the Court(a) enter an

order granting the relief requested herein, substantially in the form attached hereto as Exhibit A;

and (b) grant such other and. further relief to the Debtors as the Court may deem just and proper.

Dated: September 14, 2018                   PACHULSKI STANG ZIEHL &JONES LLP
       Wilmington, Delaware

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                                            AttoNneys,for the Plan Administrator




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